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                 IN THE UNITED STATES DISTRICT COURT
             FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                             AT BLUEFIELD

UNITED STATES OF AMERICA

v.                                        CRIMINAL NO. 1:05-00126-02

HECTOR REINAT

                     MEMORANDUM OPINION AND ORDER

     Pending before the court is defendant’s motion, brought

pursuant to 18 U.S.C. § 3582(c)(2), asking the court for a

reduction in his sentence based on a subsequent reduction in the

applicable sentencing guideline.         (Doc. # 536).      On November 1,

2010, pursuant to the Fair Sentencing Act of 2010, the United

States Sentencing Guidelines were amended, resulting in

reductions in the guidelines in Section 2D1.1 for cocaine base.

These temporary, emergency amendments to the Guidelines took

effect on November 1, 2010.         Permanent amendments implementing

the Act were promulgated on April 6, 2011, with an effective date

of November 1, 2011.     Subsequently, the Sentencing Commission

voted to give retroactive effect to the permanent amendments.

Pursuant to a Standing Order entered on October 7, 2011, this

case was designated for Standard consideration.

     The court has received and considered the Original

Presentence Investigation Report (PSI), the Judgment and

Commitment Orders and Statement of Reasons, addendum to the PSI

from the Probation Office, memoranda filed by defendant and the

United States, and other matters of record.            The court has also
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considered the applicable factors under 18 U.S.C. § 3553(a),

consistent with § 3582(c)(2), and public safety.

      Having reviewed the materials of record, the court has

determined that the motion must be DENIED.            As defendant

concedes, his sentencing range did not change as a result of the

amended guideline.

     The Clerk is DIRECTED to send a copy of this Memorandum

Opinion and Order to defendant, counsel of record, the United

States Probation Office, and the United States Marshal for the

Southern District of West Virginia.

     It is SO ORDERED this 6th day of March, 2012.

                                         ENTER:



                                         David A. Faber
                                         Senior United States District Judge




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